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                               UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF SOUTH CAROLINA


   In re:                                                          Case No. 17-01130-jw
            Connie Lynette Hardwick,

            Debtor.                                                Chapter 11


   In re:                                                          Case No. 17-01132-jw
            Double J Farms, LLC,
                                                                   Chapter 11
            Debtor.

NOTICE OF COMPLETION OF PLAN PAYMENTS AND REQUEST FOR DISCHARGE

Connie Lynette Hardwick and Double J Farms, LLC have filed papers with the court setting forth that they have
completed their plan and are seeking a discharge of their debts from this Court.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney,
if you have one, in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

If you do not want the court to issue a Discharge for these Debtors, or you want the court to consider your views
on the Discharge of these Debtors, then within twenty-one (21) days of service of this notice, you or your
attorney must:

File with the court a written response, return, or objection at: 1100 Laurel Street, Columbia, SC 29201

Responses, returns, or objections filed by an attorney must be electronically filed in ecf.scb.uscourts.gov.

If you mail your response, return, or objection to the court for filing, you must mail it early enough so the court
will receive it on or before the date stated above.

You must also send a copy to: Sean Markham, Attorney for the Debtor, P.O. Box 20074, Charleston, SC 29413-
0074

Attend the hearing scheduled to be heard on November 10, 2020, at 11:30 a.m. at the United States Bankruptcy
Court, District of South Carolina 145 King Street, Room 225 Charleston, SC 29401.

If no response, return, and/or objection is timely filed and served, no hearing will be held on this Notice and
Application, except at the direction of the judge.

If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in
the motion or objection and may enter an order granting that relief.

October 13, 2020                                           Markham Law Firm, LLC

                                                              /s/ Sean Markham
                                                              Sean Markham, I.D. # 10145
                                                              P.O. Box 20074
                                                              Charleston, SC 29413-0074
                                                              Tel: 843-284-3646
                                                              sean@markhamlawsc.com
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                             UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH CAROLINA


  In re:                                                    Case No. 17-01130-jw

            Connie Lynette Hardwick,
                                                            Chapter 11
            Debtor.

  In re:                                                    Case No. 17-01132-jw

            Double J Farms, LLC,                            Chapter 11

            Debtor.

                            CHAPTER 11 REQUEST FOR DISCHARGE

       Connie Lynette Hardwick and Double J Farms, LLC, (“Debtors”) hereby notify the creditors of
these jointly administered estate that the Plan of Reorganization (“Plan”) is complete and all required
payments were made and that a request for discharge is now warranted. Contemporaneously with this
notice and request, the Debtor has filed her post-petition credit counseling course (also known as a
debtor education class).
                                       SUMMARY OF THE CASE
       1.       On March 7, 2017, the Debtors filed for relief under Chapter 11 of Title 11 of the
United States Bankruptcy Code.
       2.       The two cases were substantively consolidated on April 14, 2017.
       3.       Debtors are operating their business and managing their assets as debtors in possession
under§§1107(a) and 1108 of the Bankruptcy Code.
       4.       On October 4, 2017, Debtors filed their Disclosure Statement and Plan of
Reorganization. An amendment to Debtors’ Plan and Disclosure Statement was filed on November 21,
2017. Following a hearing on the matter, Debtors’ Disclosure Statement was approved by Order of the
Court entered on November 27, 2017.
       5.        An addendum to the Plan and Disclosure Statement were filed on January 3, 2018.
       6.       On January 31, 2018, the Court entered an order confirming the Debtors’ Plan (the
“Confirmation Order”).
       7.       The Confirmation Order approved the Plan and the agreements negotiated by the
Debtors and their secured creditors.
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       8.         On June 26, 2018 a final decree was entered that administratively closed the above
captioned cases.
       9.         On September 18, 2018 the case was reopened to approve a sale of assets to fund the
Debtor’s case.
       10.        The case was then administratively closed again on October 16, 2018 (“Administrative
Closure”).
       11.        Since then the Debtor has operated under her confirmed Plan of reorganization.
                                   SMMARY OF PLAN PAYMENTS


       The Debtors are current on all post-confirmation obligations and all pre-confirmation long-term
obligations. The Debtor has either paid all claims in full, or the creditors have refused to accept
payment of their claims. Those creditors refusing to accept payment despite repeated attempts by the
Debtors to pay are listed in Exhibit A to this pleading.


       The Debtor’s Plan provided for these categories of creditor payments and those creditors were
treated as set out below:


                                                    Plan         Status Post-                Debtor's
 Classification        Creditor Name                Treatment    Confirmation                Obligation
                                                    Pay
                                                    though       Paid in Full Property
 Class 1 Claim         ArborOne, ACA                Sale         Sold                        $1,390,946.81
                                                    Satisfied
                                                    through
                                                    Settlement
                                                    w/ R                                     $
 Class 2 Claim         First Reliance Bank          Cooke        Satisfied by Settlement     399,103.28



                                                                 Obligation is still
                                                    Cure and     outstanding but paid
                                                    paid by      according to terms of       $
 Class 3 Claim         Anderson Brothers Bank       Daughters    Plan as long-term debt      232,358.63
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                                                       Obligation is still
                                                       outstanding but paid
                                          Cure and     according to terms of
Class 4 Claim    NBSC                     Maintain     Plan as long-term debt     $   52,712.00



                                                       Obligation is still
                                                       outstanding but paid
                                          Cure and     according to terms of
Class 5 Claim    Conway National Bank     Maintain     Plan as long-term debt     $   51,979.00
                                          Cure and     Paid in Full, Property
Class 6 Claim    Conway National Bank     Maintain     Sold                       $   20,015.00
                                          Cure and
                                          paid by      Paid in Full, Property
Class 7 Claim    Conway National Bank     Daughters    Sold                       $   18,722.00
                                          Cure and
                                          paid by      Paid in Full, Property
Class 8 Claim    Conway National Bank     Daughters    Sold                       $   16,653.00
                                          Satisfied
                                          through
                                          Settlement
                                          w/ R         Paid in Full, Property
Class 9 Claim    Conway National Bank     Cooke        Sold                       $   13,624.65
                                          satisfied
                                          through
                                          Settlement
                                          w/ R
Class 10 Claim   Conway National Bank     Cooke        Satisfied by Settlement    $   24,237.89



                                                       Obligation is still
                                                       outstanding but paid
                                          Cure and     according to terms of
Class 11 Claim   Nancy Pickelsimer        Maintain     Plan as long term debt     $   45,583.00
                                          Cure and
Class 12 Claim   The Citizens Bank        Maintain     Paid in Full               $   28,853.00
                                          Cure and
Class 13 Claim   The Citizens Bank        Maintain     Paid in Full               $   34,581.00
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                                                   Cure and
 Class 14 Claim      JP Morgan Chase Bank          Maintain      Paid in Full                  $   42,943.00
                                                   Cure and
 Class 15 Claim      Anderson Brothers Bank        Maintain      Paid in Full                  $   39,289.00

                                                   Satisfied
                                                   through
                                                   Settlement
                                                   w/ R
                                                   Cooke.
                                                   Balance
                                                   paid in 1  Paid in full and all taxes
 Class 16 Claim      Horry County Treasure         year       current                          $   19,812.52
                                                   Cure and
 Class 17 Claim      Citzens Bank                  Maintain      Paid in Full                  $      6,708.00
                                                   Cure and
 Class 18 Claim      Ally Bank                     Maintain      Paid in Full                  $      5,706.00
                                                   Pay
                                                   though        Paid in full and all taxes
 Class 19 Claim      Florence County               Sale          current                       $      7,388.05
                                                   Cure and
                     Clarendon County              paid by       Paid in full and all taxes
 Class 20 Claim      Treasure                      Daughters     current                       $      7,162.23
                                                   Pay
                                                   though
 Class 21 Claim      Administrative claims         Sale          Paid in full                  $   70,000.00
                                                                 Paid in full and all taxes
 Class 22 Claim      Priority Claims               Pay           current                       $        46.00
                                                   Pay           Paid in full except those
                                                   though        refusing payment in
 Class 23 Claim      Unsecured Claims              Sale          Exhibit A                     $   50,000.00
                                                   Satisfied
                                                   through
                                                   Settlement
                                                   w/ R
 Class 24 Claims     Richard Cooke                 Cooke         Satisfied by Settlement       $           -

 Total Claims                                                                                  $2,578,424.06



       As stated in the column “Status Post-Confirmation” the Debtor has either paid its debts in full,
satisfied the debt by refinancing the debt, were settled during the bankruptcy, paid by the sale of
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property, or refused to accept payment. The creditors who have refused to accept payment have done
so despite repeated calls requesting to repay these obligations, calls to bankruptcy departments within
these organizations, and in person meetings with the creditor at their places of business.
       Any post Administrative Closure professional fees have been paid in full, there are no fees
owed to the US Trustee’s office, any fees related to the reopening of the case have been paid at the
time of this application, and no other administrative claims are outstanding at this time. As such the
Debtors have paid their debts in full and are entitled to discharge.
       Pursuant to 11 U.S.C. § 1141(d)(5) the Debtor is entitled to a discharge but because she is an
individual debtor under 11 U.S.C. § 1141(5) a discharge cannot be granted to Ms. Hardwick until after
notice and a hearing once the Debtor has completed all payments under the Plan. The Debtor asserts
that she has made all payments under the Plan and remains current on all long-term obligations and all
post-petition obligations. 11 U.S.C. § 1141(d)(3) is not applicable here because the Debtor is not
liquidating substantially all of the property of estate, and she would not be denied a discharge under 11
U.S.C. § 727(a). This should qualify as the required statement set out in Fed. R. Bankr. P.1007(b)(7).
Further under that same bankruptcy rule, subpart (8), the Debtor has claimed exemptions pursuant to
11 U.S.C. § 522 but the Debtor has paid her debts in full pursuant to her Plan and her need to claim
exemptions had no impact on the payout to her creditors. The Debtor asserts that there are no pending
proceedings whereby she may be found guilty of a felony of any kind nor would she owe a debt of the
kind described in 11 U.S.C. § 522(q)(1)(B).
       There are no debts which were deemed to be exempt from discharge under 11 U.S.C. § 523.
The Debtor has not received a discharge under chapter 7, 11, or 12 of this title during the 4-year period
preceding the date for the order for relief under this chapter, or in a case filed under chapter 13 of this
title during the 2-year period preceding the date of such order.
       The Debtor has completed the required post-petition credit counseling course on August 9,
2020 and the Debtor has filed the required forms with the court. Due to the consolidated nature of the
cases, Connie Lynette Hardwick has taken the counseling course but the Double J Farms, LLC is not
required to take this course because it is not an individual debtor. The competition of this course and
the Debtors completion of the Plan payments to her creditors are the events allowing her to request and
receive a discharge from this Court.


       WHEREFORE, the Debtors request that the Court enter a Final Decree closing this case,
granting the Debtor a discharge, and granting such other and further relief as the Court may deem just
and proper.
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                                                         Markham Law Firm, LLC

                                                         /s/ Sean Markham
                                                         Sean Markham, I.D. # 10145
                                                         Attorney for the Debtors
                                                         P.O. Box 20074
                                                         Charleston, SC 29413-0074
                                                         Tel: 843-284-3646
                                                         Fax: 843-637-7499
                                                         sean@markhamlawsc.com

Charleston, South Carolina
October 13, 2020


I, Connie Lynette Hardwick, hereby affirm and certify that the information contained in this Request
are correct, true, and accurate. I affirm that I have made all the required payments to my creditors and
that any amounts that were unpaid were despite my best efforts to repay those limited creditors
attached here to in Exhibit A who refused to accept payments. I represent that I am not subject to any
proceedings whereby I could be found guilty of a felony nor any proceedings whereby there may be a
finding that a debt I owe would be a violation of any securities law; a debt that is fraudulent, deceitful,
or manipulative in connection with the sale of securities; a debt that would be considered a civil
remedy under the US Criminal Code set out in Title 18 of the U.S. Code; or a debt that is the result of a
criminal act, intentional tort, or willful or reckless misconduct that resulted in serious physical injury
or Death of another individual in the preceding 5 years.




/s/ Connie Lynette Hardwick_                          Date: October 13, 2020
Connie Lynette Hardwick
Individually


/s/ Connie Lynette Hardwick_                  Date: October 13, 2020
Connie Lynette Hardwick
As the representative for
Double J Farms, LLC
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                                                  Exhibit A


                              List of creditors not accepting payment of claims




Claimant                      Allowed Unsecured         Post-Confirmation Disposition




Horry Electric Cooperative,
                                                        Refused Payment Said No Balance
Inc.                          $               544.00    Owed
Tnb-Visa (TV) /                                         Refused Payment Said No Balance
Target                        $               779.00    Owed
                                                        Refused Payment Said No Balance
US Bank/Rms CC                $               420.58    Owed
Wells Fargo Bank                                        Refused Payment Said No Balance
N.A.                          $               505.95    Owed
